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   July 14, 2020

   Via ECF and Fedex

   Honorable James L. Garrity, Jr.
   United States Bankruptcy Court
   Southern District of New York
   One Bowling Green
   New York, NY 10004-1408


          RE:      In re Orly Genger,
                   Case No. 19-13895 (JLG)/Common Interest Privilege

   Dear Judge Garrity:

          This firm represents judgment creditor Sagi Genger (“Sagi”) in connection with the
   above-referenced bankruptcy proceeding. We write on behalf of the Creditor Group 1 in
   opposition to the letter briefs filed by the Debtor and Chapter 7 Trustee seeking to invade
   the common interest privilege protecting communications by and among the Creditor
   Group and its attorneys.

           Before addressing that, however, we first wish to reaffirm our request for a ruling
   that communications among the Debtor-Transferee Parties are not protected by the
   common interest or similar privileges. Despite being on notice that we would be
   challenging their assertion, Debtor-Transferee Parties did not seek to defend their own
   assertions of common interest privilege, and accordingly they have failed to meet their
   burden. Specifically, we ask that each Debtor-Transferee Party or counsel be compelled
   to produce all communications with any other Debtor-Transferee Party or counsel
   concerning the pending motion to dismiss the bankruptcy case, the constructive trust
   action, the Trustee’s Motion, 2013 Settlement Agreement, the $15 million Trump Notes
   created thereby, the March 31, 2017 Escrow Agreement by which the Debtor-Transferee
   Parties sought to divvy up the proceeds, and the purported encumbrances placed on those
   proceeds by the Debtor for the benefit of her husband and father.



   1
          Unless otherwise defined herein, defined terms shall have the same meaning ascribed to
          them in Sagi Genger’s Letter Brief in Support of the Common Interest Privilege, filed on
          July 10, 2020, (the “Sagi Letter Brief”) Dkt. No. 293.


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           Such communications should consist of those that Mr. Herschmann has had with
   KBT, as he takes the position that he is a party to this bankruptcy solely as a creditor, and
   also with the Debtor, as no spousal privilege can attach to communications regarding a
   business transaction for which a creditor seeks to collect against his spouse. See G-Fours,
   Inc. v. Miele, 496 F.2d 809, 811-812 (2nd Cir. 1974) (communications regarding a spouse’s
   bank accounts and ownership and transfer of property “would not seem to invade the
   marital privilege”); Saint Annes Dev. Co., LLC v. Trabich, 2009 WL 324054, *10 (D. Md.
   Feb. 9, 2009) (spousal privilege “does not protect underlying facts from disclosure and may
   not be used in a blanket fashion to shield information about business transactions or other
   such events”) (citation omitted).

           By contrast, the Creditor Group has more than met its burden of establishing a
   common legal interest amongst its members and their counsel. Both the Debtor and Trustee
   have filed briefs that fail to address the overriding and most important fact in connection
   with the Creditor Group’s common legal interest; to wit, that the Creditor Group parties
   have worked in concert over the last several years for the common legal purpose of
   exposing and remediating the actual and constructive fraud committed by the Debtor-
   Transferee Parties.

           The key step in the Creditor Group strategy was undertaken on June 11, 2019, when
   Sagi filed a turnover action before Judge Broderick, in an action in which Dalia Genger
   (“Dalia”) was a party (the “Turnover Action”). Adjudication of the Turnover Action,
   seeking to restore the $32.3 million, would entirely obviate the need for this bankruptcy
   case and all the fraudulent transfer litigation the Trustee complains about in her submission.

          Importantly and contrary to the suggestion of the Trustee, no member of the
   Creditor Group sought recovery of assets from the Debtor, only restoration of assets to the
   Debtor – the $32.3 million. Indeed, it is an unusual feature of this bankruptcy that the
   Debtor has and remains committed to blocking the restoration of the funds necessary to
   pay her creditors – preferring that assets remain in the custody of her insiders.

           The Debtor and Trustee’s arguments in connection with the common interest
   privilege fall into three general categories, each of which is addressed below.2

         First, the Trustee and Debtor argue that members of the Creditor Group share only
   a “commercial” interest and therefore, the common interest privilege is not applicable. The

   2
          The Trustee has a fourth “argument” - that the common interest privilege should not be
          applied broadly – but the cases relied upon are largely subsumed in the argument on
          “commercial” v. “legal” interest and therefore, will be discussed in that section of the
          response. Moreover, the “facts” set forth in this section of the Trustee’s brief are an
          indication that that the Trustee and her counsel are still unfamiliar with the record, despite
          studying the issues for more than half a year.
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   Debtor and Trustee cite to In re Leslie Controls. Inc., 437 B.R. 493 (Bankr. D. Del. 2010),
   to establish the elements of the common interest privilege and to support their contention
   that the Creditor Group shares only a common “commercial” interest, not a common legal
   interest. In Leslie Controls, however, on facts similar to the case at bar, the Court found
   that the common interest privilege applied. Id. at 502. Moreover, the Leslie Controls Court
   distinguishes cases that found only a commercial interest existed – some of which are relied
   upon by the Debtor and Trustee. Id. at 498-500.

           The question in Leslie Controls was whether privileged communications between
   the debtor and its counsel and various other parties were protected from discovery under
   the common interest doctrine. Id. at 495. There, an insurance company argued that the
   parties shared, at most, a common commercial interest and, therefore, the common interest
   privilege did not apply. Id. at 498. After broadly stating the origins and elements of the
   common interest doctrine, the Court distinguished a number of cases cited by the insurance
   company – some of which are now cited by the Debtor and Trustee – and determined that
   the party invoking the common interest doctrine must present evidence that a legal interest
   is implicated. Id. at 500. “If such legal interest is established then the common interest
   doctrine will apply…even if there are separate or overlapping commercial interests.” Id.

           The Court found that at the time the documents were exchanged, the parties shared
   a common interest in preserving and maximizing insurance proceeds available to pay
   claimants. Id. at 502. “This is an inherently legal question. It involves an analysis of the
   insurance documents, as well as contract, insurance and bankruptcy law.” Id. at 500.
   Moreover, the Court specifically found that the parties “were not merely third-party
   bystanders.” Id. The Court was persuaded that the parties were directly involved in the
   effort to maximize insurance coverage in order to “maximize the size of the pie.” Id.
   Importantly, the Court noted that whether the parties had competing interests later on in
   connection with individual pieces of that pie was not of import in determining that the
   common interest privilege applied. Id. at 502. The facts in the case at bar are more closely
   aligned to those in Leslie than in any of the other cases also cited by the Debtor or Trustee3.


   3
          The cases cited by the Trustee and Debtor are entirely inapposite and readily
          distinguishable to the case at bar. In Bank of America, N.A. v. Terra Nova Insurance Co.,
          Ltd., 211 F. Supp. 2d 493, 497 (S.D.N.Y. 2002), the issue turned squarely on the
          negotiation of a credit agreement by and among the parties. There was no legal interest
          implicated and there was “no evidence that the letter of credit agreements constituted
          anything more than a business transaction – that is, a commercial endeavor.” Id. at 497. In
          Bank of Brussels Lambert v. Credit Lyonnaise (Suisse) S.A., 160 F.R.D. 437 (S.D.N.Y.
          1995), the parties seeking the privilege provided no evidence to establish anything other
          than a business interest in a commercial transaction, nor that their attorneys ever
          coordinated in their legal efforts. The case at bar stands in stark contrast as there have been
          multiple instances of the Creditor Group’s attorneys working in close coordination to
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           The Creditor Group has worked together for the purpose of exposing and
   remediating the actual and constructive fraud committed by the Debtor-Transferee Parties4.
   Those efforts have been exclusively through litigation and the court process. Although
   they add a lot of negative spin, the Debtor and Trustee actually describe a common
   enterprise encapsulating an “orchestrated” strategy to seek relief from the courts for a
   common purpose. See Trustee Brief at p. 5. Simply stated, the Creditor Group, through its
   members, are not “merely third party bystanders.” Leslie, 437 B.R. at 500. Each is directly
   involved in the effort to maximize the impact of litigation to expose and remediate the
   fraud committed by the Debtor-Transferee Parties and having the $32.3 million returned.

            Moreover, as Leslie instructs, it is of no moment that the parties may have
   conflicting positions in connection with how the proceeds of the Turnover Action are to be
   distributed once recovered from the fraudulent transferees.

                  The common interest privilege does not require a complete
                  unity of interests among the participants. The privilege
                  applies where the interests of the parties are not identical,
                  and it applies even where the parties’ interests are adverse in
                  substantial respects. The privilege applies even where a
                  lawsuit is foreseeable in the future between co-defendants.

   Leslie., 437 B.R. at 497 (citations omitted).

          advance their ultimate legal strategy. In Gulf Islands Leasing, Inc. v. Bombardier Capital,
          Inc., 215 F.R.D 466 (S.D.N.Y. 2003), there was no evidence of any legal strategy was
          discussed and indeed, testimony was such that the parties “did not discuss the ‘legal
          strategy concerns of [Bombardier Capital]’ and that Bombardier Capital was ‘essentially a
          third-party.’” Id. at 472 (citation omitted). Again, this case was distinguished by Judge
          Sontchi in Leslie Controls. In In re Vitamin C Antitrust Litigation, 2011 WL 197583
          (E.D.N.Y. Jan 20, 2011), no legal interests were implicated in sharing the documents at
          issue. Indeed, the parties in that case cited no authority to support that their “common
          interest with respect to the regulation and the efficient regulation of the economy… can
          support assertion of the attorney-client privilege as extended by the common interest rule.”
          Id. at 6. Finally, in Walsh v. Northrop Grumman Corp., 165 F.R.D. 16 (E.D.N.Y. 1996),
          the common interest doctrine failed on multiple levels, including that the confidences
          shared were not between parties and their attorneys, but between a party and his own
          attorney and then again shared not with another party’s attorney, but with the other party.
          “To extend the common interest doctrine that far would mean that a party could shield from
          disclosure any discussions it had with another person about a matter of common interest
          simply by discussing that matter first with its own attorneys.” Id. at 18. Plainly, that would
          not describe the case at bar.
   4
          A list of the actions taken in furtherance of the Creditor Group’s joint legal strategy is set
          forth in the Sagi Letter Brief.
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            As Judge Sontchi found, “[t]o return to the pie analogy, the size of the pie and the
   size of the pieces are two separate questions. The parties are in accord as to the former and
   adversaries as to the latter.” Id. at 502 (emphasis added). Here, the Creditor Group has
   put aside their differences with respect to the pieces and are in complete accord with respect
   to the size of the pie. Indeed, the case at bar presents even stronger facts than Leslie for
   finding that the common interest privilege applies, in that the Creditor Group has
   collectively sought to minimize litigation in connection with the size of the pieces.

           The Debtor and Trustee’s submission misidentify the actual legal distinction
   between the members of the Creditor Group’s positions. All members of the Creditor
   Group take the position that the $32.3 belong to the Debtor, they each argue a distinct view
   as to in what capacity she holds those funds or the right to those funds (personal capacity,
   as a quasi-fiduciary to the Orly Trust, or in part as a constructive trustee for Dalia). Those
   distinct arguments are each based on a good faith interpretation of the facts, which is why
   compromises between the parties have ensued in the form of written agreements as to how
   to treat any recovered assets.               There exists a “strong judicial policy
   in favor of settlements…” In re Painewebber Ltd. P'ships Litig., 147 F.3d 132, 138 (2d
   Cir. 1998) (citation omitted). Rather than disparage the Creditor Group for seeking a
   compromise, the Trustee should be looking into the fraudulent acts of the people from
   whom she is seeking a loan intended solely to pay her law firm.

           Second, the Trustee argues that there was no “intent” to create a common interest
   privilege. In this regard, the Trustee seems to misunderstand the law in connection with
   the “intent” requirement. It appears she believes that the common interest privilege must
   be reduced to a writing. This is simply not the law. See Vacco v. Harrah’s Operating Co.,
   Inc., 2008 WL 4793719, *9 (N.D.N.Y. Oct. 29, 2008) (oral agreement established common
   interest); see Denney v. Jenkens & Gilchrist, 362 F. Supp. 2d 407, 415 (S.D.N.Y. 2004)
   (common interest doctrine requires an agreement, but “not necessarily in writing”);
   Lugosch v. Congel, 219 F.R.D. 220, 237 (N.D.N.Y. 2003) (same), Hanover Ins. Co. v.
   Rapo & Jepsen Ins. Servs., Inc., 449 Mass. 609, 1113 (2007) (holding that the common
   law, not a writing, creates the common interest privilege). In any event, although not
   dispositive, but providing further evidence of the common legal interest, there is in fact, a
   writing reflecting such an intent between Sagi’s counsel and Mr. Oldner’s counsel. See
   “Exhibit A”. As for Dalia’s inclusion, she and Sagi have been co-defendants since 2007
   in eight legal misadventures of the Debtor alleging they were joint tortfeasors – sometimes
   sharing the same attorney.

           Finally, the Trustee argues that “full transparency” dictates invading the attorney-
   client privilege. According to the Trustee, disclosure of the requested documents – mental
   impressions and attorney work-product by and among the Creditor Group and its lawyers
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   in their litigation strategy – is somehow important to the pending motions and the integrity
   of the bankruptcy process. Nothing could be more incorrect.

            First, the Trustee does not cite to a single case standing for the proposition that
   breaching the attorney-client privilege or work product doctrine – cornerstones of the
   American legal system – is warranted just because it may be advantageous to an adversary.
   Second, the Trustee cannot (and has not) articulated a single reason as to why the withheld
   communications are important to the determination of the pending motions (the Motion to
   Dismiss and the Trustee’s Motion). What can be so critical about the Creditor Group
   litigation strategy in connection with the Trustee’s Motion? That motion, in so far as it
   purports to sell claims against Dalia (claims that have already been decided against the
   Debtor by the New York Supreme Court) is not objectionable (so long as all defenses are
   maintained) as was reported to this Court at the June 30, 2020 and July 2, 2020 hearings.
   As for the “loan” portion of the claim, there is no conceivable portion of attorney-client
   privileged documents addressing litigation strategy that has any bearing on the Trustee’s
   ability to enter into such a loan. The requested documents evidence the mental impressions
   of the attorneys advising the Creditor Group and have no bearing on the Trustee’s ability
   to obtain, or the rationale for obtaining, a loan.

           Moreover, allegations against the Debtor and her cohorts form the basis for the
   Motion to Dismiss, not allegations concerning the Creditor Group. As such, whether Dalia,
   Mr. Oldner, or Sagi, entered into a settlement agreement, provided for a release as part of
   an agreement to cooperate in a common legal effort (a standard provision that this particular
   Trustee included in her own proposed 9019 Motion to the Creditor Group) is entirely
   irrelevant.

           Instead, the Trustee and her counsel excoriate Dalia for filing a constructive trust
   complaint to protect her interests in the TRI share proceeds that the Debtor-Transferee
   Parties have fraudulently retained. The Trustee and her counsel suggest Dalia filed the
   constructive trust action to frustrate the bankruptcy process, but then cannot explain why
   she asked that it not be heard until after the motion to dismiss was adjudicated. In fact,
   Dalia’s timing in filing a constructive trust action is easily understood – it was filed just
   prior to the sixth anniversary of her first demand under the promises made in 2004. That
   anniversary may have implicated a statute of limitations barring her action and is addressed
   in her opposition to the motion to dismiss the constructive complaint and cross-motion for
   summary judgment filed contemporaneously herewith.

           That the equities of this situation, conclusively adjudicated by both the Federal and
   State courts, are now being re-opened for examination by the Trustee, is just more evidence
   of the Debtor’s improper use of the bankruptcy process. Importantly, much of the
   information from these Courts, including their decisions and memorandum on the facts and
   circumstances surrounding these various cases, has been provided to the Trustee and her
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   counsel. Nevertheless, the Trustee and her counsel do not seem to have assimilated them.
   Notwithstanding the fact that the Trustee and her counsel were presented with evidence of
   fraud committed by the Debtor-Transferee Parties, the Trustee and her counsel apparently
   determined it was not that important and instead, entered into a business relationship with
   them.

           In conclusion, the Creditor Group satisfies the elements necessary to find that a
   common interest privilege exists to shield the discovery at issue: (i) the communications
   were made by separate parties in the course of a matter of common legal interest, (ii) the
   communication was designed to further that effort, and (iii) the privilege has not otherwise
   been waived. Leslie,. 437 B.R. at 496 (citations omitted). Instead of recognizing the long
   history of coordinated effort among the Creditor Group of resort to the courts to expose
   and remediate the Debtor-Transferee Parties’ fraud, the Trustee resorts to “what-about-
   isms” and other misdirections that are entirely irrelevant to (a) the existence of a common
   interest privilege, (b) the Trustee’s Motion, and (c) the Motion to Dismiss. Moreover, for
   the reasons stated above, the Debtor cannot establish that the common interest privilege is
   applicable to communications by and among the Debtor-Transferee Parties.

          We thank the Court for its consideration.


                                                Respectfully submitted,

                                                /s/ Thomas A. Pitta
                                                Thomas A. Pitta
                                                Emmet, Marvin & Martin, LLP
                                                120 Broadway, 32nd Floor
                                                New York, New York 10271
                                                Attorneys for Sagi Genger

   cc:    All Counsel of Record (via ECF)

          Encl.
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         EXHIBIT A
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John Dellaportas

From:                                Daniel Cohen <dcohen@wmhlaw.com>
Sent:                                Thursday, June 13, 2019 2:14 PM
To:                                  John Dellaportas
Subject:                             RE: COMMON INTEREST PRIVILEGE


Thanks John. I believe your email crossed with mine. Yes, I confirm.

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From: John Dellaportas <JDellaportas@EMMETMARVIN.COM>
Sent: Thursday, June 13, 2019 2:13 PM
To: Daniel Cohen <dcohen@wmhlaw.com>
Subject: COMMON INTEREST PRIVILEGE

Dan, as I have recently switched law firms, I wanted to reiterate our prior agreement that any and all communications
between us relating to Genger matters shall be within the scope of the common interest privilege between your clients
and mine. Please confirm by reply email that this is still the case. Thank you. John

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